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 1   KEITH H. RUTMAN (CSB #144175)
     501 West Broadway Ste 1650
 2   San Diego, California 92101-3541
     Telephone: (619) 237-9072
 3   Facsimile: (760) 454-4372
     email: krutman@krutmanlaw.com
 4
     Attorney for Plaintiff
 5   RONALD MARTELL
 6
 7                            UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
 9   RONALD MARTELL,               )               Case No. '22CV920 JLS MSB
                                   )
10                   Plaintiff,    )               PLAINTIFF's REQUEST FOR
                                   )               LEAVE TO LODGE EXHIBIT
11   v.                            )               (DVD OF VIDEO) IN SUPPORT OF
                                   )               COMPLAINT
12   SAN DIEGO COUNTY DEPUTY )
     SHERIFFS COLE (#0473);        )
13   NAPUTI (#3018); JOHNSON       )
     (#0497); LOVEJOY (#3215);     )
14   LANNON (#0233); YOUNG (#0188) )
     & DOES 1-5                    )
15                                 )
                     Defendants.   )
16                                 )
17         COMES NOW Plaintiff, by and through his attorney KEITH H. RUTMAN, and
18   hereby submits an ex parte request for leave to conventionally file a DVD in support of
19   his Complaint. Said request is made pursuant to the Southern District's Electronic Case
20   Filing Administrative Policies and Procedures § (2)(k)
21         In support thereof, Plaintiff states as follows: The video of the arrest on
22   September 3, 2020 at approximately 11:08 am, was captured on police worn body
23   camera. The video recording is prosecution of the case and contains evidence that
24   cannot be captured or presented to the Court by other reasonable means.
25                                                 Respectfully Submitted,
26   Dated: June 23, 2022                          s/ Keith H. Rutman
                                                   KEITH H. RUTMAN
27                                                 Attorney for Plaintiff
                                                   Email: krutman@krutmanlaw.com
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